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 9
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10
     signature pages
11

12                                  UNITED STATES DISTRICT COURT

13                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

14                                          OAKLAND DIVISION

15                                                        MDL No. 3047

16                                                        Case No. 4:22-md-03047-YGR-PHK

17    IN RE: SOCIAL MEDIA ADOLESCENT
      ADDICTION/PERSONAL INJURY PRODUCTS                  Honorable Yvonne Gonzalez Rogers
18    LIABILITY LITIGATION
      THIS DOCUMENT RELATES TO:                           MARK ZUCKERBERG’S MOTION TO
19
                                                          DISMISS PURSUANT TO RULE 12(b)(6)
      ALL ACTIONS                                         THE PERSONAL INJURY PLAINTIFFS’
20
                                                          CLAIMS
21
                                                          Hearing:
22                                                        Date: TBD
                                                          Time: TBD
23                                                        Place: Oakland, California
                                                          Judge: Hon. Yvonne Gonzalez Rogers
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 1                                    NOTICE OF MOTION AND MOTION
 2           PLEASE TAKE NOTICE THAT, at a hearing date and time to be determined in accordance with
 3   the Court’s Case Management Order No. 6 (4:22-md-3047, Dkt. No. 451), before the Honorable Yvonne
 4   Gonzalez Rogers, in Courtroom 1, Floor 4, of the United States District Court, Northern District of
 5   California, located at 1301 Clay Street in Oakland, California, Defendant Mark Zuckerberg will and
 6   hereby does move this Court, under Federal Rule of Civil Procedure 12(b)(6), for an order dismissing with
 7   prejudice Counts 8 and 9 of the Personal Injury Second Amended Master Complaint (Dkt. 494) against
 8   him in their entirety.
 9           This Motion is based on the Memorandum of Points and Authorities submitted herewith, any Reply
10   Memorandum or other papers submitted in connection with the Motion, the Motion to Dismiss
11   concurrently filed by the Meta Defendants (which Mr. Zuckerberg also joins), the Personal Injury Second
12   Amended Master Complaint filed in this action, any matter of which this Court may properly take judicial
13   notice, and any information presented at argument.
14

15    DATED:          December 22, 2023                By:        /s/ Phyllis A. Jones
16                                                                Phyllis A. Jones
17
                                                                  Attorneys for Defendants Defendants Meta
18
                                                                  Platforms, Inc., Instagram, LLC, Meta
19                                                                Payments, Inc., Meta Platforms
                                                                  Technologies, LLC, Facebook Payments,
20                                                                Inc., Siculus, Inc., Facebook Operations,
                                                                  LLC, and Mark Elliot Zuckerberg
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                                                                  Additional counsel listed on
23                                                                signature pages

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 1         I.         INTRODUCTION
 2               In Meta’s concurrently filed motion to dismiss Counts 8 and 9 of the Personal Injury Second
 3   Amended Master Complaint (“PI SAC”), Meta explains why the claims for fraudulent and negligent
 4   misrepresentation and concealment fail as a matter of law. Some individual Plaintiffs in their short-form
 5   complaints have also pled these claims against Mark Zuckerberg, Meta’s founder and CEO, in his personal
 6   capacity. 1 For the reasons explained in Meta’s brief, as well as the additional reasons set forth below, the
 7   claims asserted against Mr. Zuckerberg fail as a matter of law.
 8               First, it is a fundamental principle that individuals cannot be held personally liable for the acts or
 9   omissions of a corporation based merely on their status as corporate executives, directors, or shareholders.
10   Second, Plaintiffs fail to allege (i) reliance on Mr. Zuckerberg’s statements or omissions or (ii) injury
11   resulting from that reliance. Third, none of the statements by Mr. Zuckerberg in the Complaint are actual
12   misstatements of fact. Fourth, Mr. Zuckerberg cannot be civilly liable to third parties for his congressional
13   testimony, which is protected by the First Amendment.                  Fifth, to the extent Plaintiffs allege Mr.
14   Zuckerberg is liable for an alleged omission, they have not pled any relationship between Plaintiffs and
15   Mr. Zuckerberg that would create a duty to disclose—a threshold ground on which such claims fail.
16         II.        BACKGROUND
17               A.      Mark Zuckerberg Is the Founder and CEO of Meta, Which Owns and Operates
                         Facebook and Instagram.
18
                 Mr. Zuckerberg is the founder and Chief Executive Officer of Meta. See PI SAC ¶¶ 186–187. Mr.
19
     Zuckerberg founded what would become Facebook in 2003 as an undergraduate at Harvard University.
20
     Id. Today, Facebook is one of the world’s most used social networking services, encompassing personal
21
     and professional profiles, business and creator pages, and shared-interest groups, all featuring content
22
     created by Facebook’s almost three billion monthly users. Id. ¶¶ 187, 190. To access the Facebook
23
     service, users must register for an account. See id. ¶¶ 240–41. At the time of registration, users must
24
     provide their birthday and verify that they are at least 13 years old. Id. ¶¶ 329, 331–32, 369(c). If a
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28       Only Counts 8 and 9 are pled against Mr. Zuckerberg personally.


                MARK ZUCKERBERG’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(6) THE PERSONAL INJURY PLAINTIFFS’ CLAIMS
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 1   potential user discloses that they are not yet 13 on the sign-up page, “they are informed that they cannot
 2   create an account.” Id. ¶ 332. Facebook will remove users that it determines are under 13. See id. ¶ 337.
 3          In 2012, Meta (then Facebook) acquired Instagram. Id. ¶ 211. Instagram is a communication
 4   service on which billions of users worldwide create, edit, and share photos, videos, and other content. Id.
 5   ¶¶ 181, 210, 216, 239. Like Facebook, users must register for an account to access the service. See id.
 6   ¶¶ 240-41. As of 2019, potential new users must provide their birthday to create an Instagram account.
 7   Id. ¶ 330. Potential U.S. users that disclose they are under 13 are informed that they cannot create an
 8   account. Id. ¶ 332. Instagram will remove users that it determines are under the age of 13. Id. ¶ 337.
 9          B.      Plaintiffs’ Claims Against Mr. Zuckerberg
10          On February 14, 2023, Plaintiffs filed their Master Complaint alleging eighteen causes of action
11   (Dkt. 136). On December 15, 2023, Plaintiffs filled a Second Amended Master Complaint (Dkt. 494),
12   which alleges the same eighteen causes of action. To date, 24 Plaintiffs have filed short form complaints
13   naming Mark Zuckerberg as a Defendant in his personal capacity. Only those complaints are the subject
14   of this motion. Those complaints assert against Mr. Zuckerberg only either Count 8 (Fraudulent
15   Concealment and Misrepresentation) and/or Count 9 (Negligent Concealment and Misrepresentation).
16          The Complaint’s allegations regarding Mr. Zuckerberg specifically are narrow. The vast majority
17   of the allegations involving Meta do not mention Mr. Zuckerberg at all. See, e.g., id. ¶¶ 181-182, 184,
18   188-194, 196-208, 214, 216-260, 262-270, 272-338, 340-364, 366-368, 379-387, 389-410, 412-436. Of
19   the allegations that do mention Mr. Zuckerberg, the majority relate to alleged statements made by Mr.
20   Zuckerberg regarding the “safety” of Meta’s platforms. The PI SAC also contains several allegations
21   regarding opinions Mr. Zuckerberg has allegedly expressed and/or aspirational statements regarding the
22   company. Attached hereto as Appendix A is a list of each allegedly misleading statement attributed to
23   Mr. Zuckerberg in the PI SAC. 2
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26   2
       In their newly Second Amended Master Complaint, the Personal Injury Plaintiffs also incorporate by
27   reference certain allegations from the Attorneys General’s Multistate Complaint. See Compl. ¶ 391A.
     The additional statements attributed to Mr. Zuckerberg in that complaint fail for the reasons explained in
28   Meta’s motion to dismiss the Attorneys General’s claims, filed contemporaneously herewith.

                                                           2
          MARK ZUCKERBERG’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(6) THE PERSONAL INJURY PLAINTIFFS’ CLAIMS
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 1              None of the short form complaints assert factual allegations in support of their claims beyond those
 2   contained in the PI SAC. To the extent the short form complaints contain additional allegations at all,
 3   they only include the boilerplate allegation that “In Zuckerberg’s testimony before Congress and in other
 4   public statements alleged in paragraphs 364 through 391 of the Master Complaint, Defendants Meta and
 5   Zuckerberg disclosed some facts but intentionally failed to disclose other facts, making their disclosures
 6   deceptive. In addition, Meta and Zuckerberg intentionally failed to disclose certain facts that were known
 7   only to them, which Plaintiff and their parents could not have discovered.” See, e.g., Baker SFC, Ex. A
 8   (4:23-cv-01578). 3
 9       III.      LEGAL STANDARD
10              On Rule 12(b)(6) motions, claims are subject to dismissal for failure to plead “sufficient factual
11   matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
12   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). This well-
13   established pleading standard applies equally in an MDL proceeding. See In re Zofran (Ondansetron)
14   Prod. Liab. Litig., 2017 WL 1458193, at *5 (D. Mass. Apr. 24, 2017) (“The creation of an MDL
15   proceeding does not suspend the requirements of the Federal Rules of Civil Procedure, nor does it change
16   or lower the[m].”); In re Optical Disk Drive Antitrust Litig., 2011 WL 3894376, at *9 (N.D. Cal. Aug. 3,
17   2011) (dismissing consolidated complaint in MDL for failure to satisfy Rule 8 where plaintiffs’ allegations
18   were merely “possible” rather than “plausible.”).
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21   3
       See also B.B. SFC (4:23-cv-03032) (similar); Booker SFC (4:23-cv-01537) (similar); C.G. SFC (4:23-
     cv-01568) (similar); C.S. SFC (4:23-cv-01569) (similar); Calvoni SFC (4:22-cv-05873) (similar);
22   Cameron SFC (4:23-cv-03266) (similar); Cusato SFC (4:23-cv-04961) (similar); D.S. SFC (4:23-cv-
23   03402) (similar); Dodd SFC (4:23-cv-01583) (similar); Dowdy SFC (4:23-cv-01866) (similar); Dyer SFC
     (4:23-cv-01567) (similar); Garceau SFC (4:23-cv-04962) (similar); H.D. SFC (4:23-cv-01425) (similar);
24   Haas SFC (4:23-cv-01565) (similar); Hirka SFC (4:23-cv-03906) (similar); J.F. SFC (4:23-cv-01846)
     (similar); Jackson SFC (4:23-cv-03774) (similar); Jansky SFC (4:23-cv-02026); K.C. SFC (4:23-cv-
25   03179) (similar); Keizer SFC (4:23-cv-02972) (similar); Koizol SFC (4:23-cv-02244) (similar); M.C. SFC
     (4:23-cv-03398); M.M. SFC (4:23-cv-01615) (similar); M.W. SFC (4:23-cv-03824) (similar); N.K. SFC
26
     (4:23-cv-01584) (similar); S.S. SFC (4:23-cv-02024) (similar). Several of these short form complaints
27   identify the district in which Plaintiff “would have filed in the absence of direct filing.” Mr. Zuckerberg
     does not hereby concede that those courts would have personal jurisdiction over him, and reserves all
28   rights regarding any future motion to transfer.

                                                             3
           MARK ZUCKERBERG’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(6) THE PERSONAL INJURY PLAINTIFFS’ CLAIMS
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 1            Because Counts 8 and 9 “sound in fraud,” they are subject to the heightened pleading standards of
 2   Rule 9(b). Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103 (9th Cir. 2003). To plead these fraud-
 3   based claims with the particularity required by Rule 9(b), Plaintiffs must plead the “time, place, and
 4   specific content of the false representations as well as the identities of the parties to the
 5   misrepresentations.” Swartz v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007). Rule 9(b) also applies to
 6   omission-based claims.      See Kearns v. Ford Motor Co., 567 F.3d 1120, 1127 (9th Cir. 2009)
 7   (“[N]ondisclosure is a claim for misrepresentation in a cause of action for fraud, [so] it (as any other fraud
 8   claim) must be pleaded with particularity under Rule 9(b).”); Erickson v. Bos. Sci. Corp., 846 F. Supp. 2d
 9   1085, 1093 (C.D. Cal. 2011) (omission claims “must describe the content of the omission and where the
10   omitted information should or could have been revealed”).
11      IV.        ARGUMENT
12            Plaintiffs’ claims against Mr. Zuckerberg fail because they have not alleged any facts that would
13   support a fraudulent or negligent misrepresentation/omission claim against him. As a matter of law, Mr.
14   Zuckerberg cannot be held personally liable for fraudulent or negligent misrepresentation or omissions
15   claims based on alleged misstatements or omissions that are attributed to others at the company or the
16   company in general. Even for representations attributed specifically to Mr. Zuckerberg, the claims fail on
17   the merits because Plaintiffs do not allege actual reliance, injury, or actionable misstatements of fact. And
18   Mr. Zuckerberg’s congressional testimony, which is cited liberally in the PI SAC, is protected by the First
19   Amendment. Finally, to the extent Plaintiffs’ claims are based on alleged omissions, Plaintiffs have not
20   pled any facts that would create a duty to disclose. For the reasons set forth herein, as well as for the
21   additional reasons set forth in Meta’s concurrently filed motion to dismiss, which is incorporated by
22   reference herein, the claims against Mr. Zuckerberg should be dismissed in their entirety.
23            A.     Plaintiffs Must Allege Facts that Would Support Holding Mr. Zuckerberg Liable in
                     His Personal Capacity.
24
              As a preliminary matter, Plaintiffs cannot hold Mr. Zuckerberg liable for any conduct Meta
25
     allegedly engaged in merely because he is the CEO of Meta. It is black letter law that, to hold a corporate
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     officer personally liable, “a plaintiff must first show that the director specifically authorized, directed or
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     participated in the allegedly tortious conduct.” Mewawalla v. Middleman, 601 F. Supp. 3d 574, 597 n.2
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                                                            4
           MARK ZUCKERBERG’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(6) THE PERSONAL INJURY PLAINTIFFS’ CLAIMS
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 1   (N.D. Cal. 2022) (emphasis added) (citing Frances T. v. Vill. Green Owners Assn., 723 P.2d 573 (Cal.
 2   1986)); see also, e.g., Crigler v. Salac, 438 So. 2d 1375, 1380 (Ala. 1983) (“In order to hold an officer of
 3   a corporation liable for the negligent or wrongful acts of the corporation . . . he must be a participant in
 4   the wrongful act.”).
 5          Mere status as an executive does not confer liability on a corporate officer for alleged conduct of
 6   the corporation. And courts routinely grant motions to dismiss corporate officers from suits where
 7   plaintiffs failed to level specific allegations that would support the corporate officer’s direct participation
 8   in the allegedly tortious conduct. See, e.g., O'Connor v. Uber Techs., Inc., 2013 WL 6354534, at *18
 9   (N.D. Cal. Dec. 5, 2013) (dismissing claims against executive officers of Uber because plaintiffs failed to
10   allege enough specific allegations demonstrating that the executives “personally directed or participated
11   in the tortious conduct.”); Patino v. Cnty. of Monterey, 2023 WL 375349, at *7 (N.D. Cal. Jan. 24, 2023)
12   (dismissing claims against company executives because plaintiff did not specifically identify what conduct
13   was attributable to each of the executives as opposed to the corporation itself); In re Fresenius
14   Granuflo/Naturalyte Dialysate Prod. Liab. Litig., 76 F. Supp. 3d 321, 336 (D. Mass. 2015) (dismissing
15   claims against a corporate officer because plaintiffs failed to make specific allegations that would support
16   holding the officer individually liable).
17          Indeed, multiple courts have dismissed Mr. Zuckerberg specifically from suits naming him as a
18   defendant in his personal capacity where plaintiffs failed to make allegations that would support holding
19   him personally liable. See Lloyd v. Facebook, Inc., 2022 WL 4913347, at *5 (N.D. Cal. Oct. 3, 2022)
20   (dismissing various claims, including fraud, against Mr. Zuckerberg because the complaint lacked specific
21   factual allegations to state a plausible claim for his personal liability); Brock v. Zuckerberg, 2021 WL
22   2650070, at *4 (S.D.N.Y. June 25, 2021); (dismissing individual claims against Mr. Zuckerberg and
23   another Meta executive because the complaint lacked allegations that would support holding them
24   personally liable for the alleged conduct of the company).
25          Nor can Plaintiffs seek to hold Mr. Zuckerberg liable based solely on his status as a shareholder in
26   the company. “It is a fundamental rule of corporate formation that a shareholder, be it another corporation
27   or an individual, is not liable for the actions of the corporation.” Bruce v. Clark Equip. Co., 2007 WL
28   926530, at *3 (E.D. Cal. Mar. 27, 2007) (emphasis added) (citing Mesler v. Bragg Mgmt. Co., 39 Cal.3d

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 1   290, 300 (1985)); see also United States v. Bestfoods, 524 U.S. 51, 61 (1998) (“It is a general principle of
 2   corporate law deeply ‘ingrained in our economic and legal systems’ that a parent corporation (so-called
 3   because of control through ownership of another corporation's stock) is not liable for the acts of its
 4   subsidiaries.”). Courts will only “pierce the corporate veil” to hold a shareholder liable for the acts of a
 5   corporation in exceptional cases, requiring proof that the corporation is the “alter ego” or “instrumentality”
 6   of the individual (or parent company) in question. See, e.g., Sonora Diamond Corp. v. Superior Ct., 83
 7   Cal. App. 4th 523, 539 (2000) (“Alter ego is an extreme remedy, sparingly used.”). 4 Here, Plaintiffs do
 8   not allege that Meta is the “alter ego” of Mr. Zuckerberg—nor could they. See Lloyd, 2022 WL 4913347
 9   at *5 (granting motion to dismiss where plaintiffs alleged Mr. Zuckerberg was liable under an “alter ego”
10   theory).
11          In short, to state a claim against Mr. Zuckerberg under Counts 8 and/or 9, they cannot rely on
12   allegations regarding Meta’s corporate conduct generally. 5 Instead, Plaintiffs must make allegations
13   specific to Mr. Zuckerberg that state a claim under either a fraudulent or negligent
14   misrepresentation/omission theory. For the reasons discussed below, Plaintiffs fail to do so here.
15          B.      Plaintiffs Fail to State a Claim for Fraud Against Mr. Zuckerberg.
16          For four separate reasons, Plaintiffs fail adequately to plead negligent or fraudulent
17   misrepresentation or omission claims based on the statements or omissions attributed to Mr. Zuckerberg.
18   First, Plaintiffs fail to plead actual reliance on the alleged statements or omissions. Second, the alleged
19   statements are generalized statements of opinion, not actionable statements of fact. Third, many of the
20   statements were made to Congress and are protected by the First Amendment. And, finally, Mr.
21   Zuckerberg owes no duty to Plaintiffs, as required for claims based on alleged omissions.
22

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     4
       See also Macpherson v. Eccleston, 190 Cal. App. 2d 24, 27 (1961) (“The corporate entity may be
26   disregarded only when there is ‘such unity of interest and ownership that the separate personalities of the
     corporation and the individual no longer exist’”).
27   5
      Plaintiffs also fail to state a claim under Counts 8 and 9 against Meta for the reasons stated in Meta’s
28   concurrently filed motion to dismiss these same counts.

                                                            6
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 1                    1.    Plaintiffs Fail to Plead Actual Reliance on Mr. Zuckerberg’s Statements or Injury
                            Resulting Therefrom.
 2
            Plaintiffs fail to plead actual reliance on Mr. Zuckerberg’s alleged misrepresentations and
 3
     omissions, as required.
 4
            “[T]he fundamental elements of fraud are substantially similar from state to state.” In re Takata
 5
     Airbag Prod. Liab. Litig., ---F. Supp. 3d.---, 2023 WL 4925368, at *12 (S.D. Fla. June 20, 2023).
 6
     “Virtually every state requires that . . . the plaintiff relied on the statement, and the plaintiff was injured
 7
     as a result.” Spencer v. Hartford Fin. Servs. Grp., Inc., 256 F.R.D. 284, 301 (D. Conn. 2009). This is true
 8
     irrespective of whether the claim is based on an alleged statement or omission, and irrespective of whether
 9
     it is pled under a theory of fraud or negligent misrepresentation. 6 Additionally, reliance must be pled in
10
     accordance with the requirements of Rule 9(b). E.g., Haskins v. Symantec Corp., 654 Fed. Appx. 338,
11
     339 (9th Cir. 2016) (“Because Haskins’s complaint did not allege that she read and relied on a specific
12
     misrepresentation by [defendant], she failed to plead her fraud claims with particularity as required by
13
     Rule 9(b).”).7
14
            No Plaintiff has alleged actual reliance on any of the specific representations allegedly made by
15
     Mr. Zuckerberg—let alone with the particularity required by Rule 9(b). No Plaintiff has alleged that he
16
     or she even saw any of the supposedly false statements, or the statements in which Plaintiffs allege a
17

18
     6
       See Restatement (Second) of Torts § 537 cmt. a (“The recipient of a fraudulent misrepresentation can
19   recover from the maker for his pecuniary loss only if he in fact relies upon the misrepresentation in acting
     or in refraining from action, and his reliance is a substantial factor in bringing about the loss.”); 37 Am.
20
     Jur. 2d Fraud and Deceit § 238 (“[W]here redress is sought for fraudulent concealment, it must appear
21   that the party seeking relief relied upon the one with whom he or she was doing business to disclose the
     true facts and circumstances relating to the transaction and that the suppression of such facts was an
22   inducement which moved him or her to enter into the agreement.”); see also In re Welding Fume Prod.
     Liab. Litig., 2007 WL 1087605, at *7 (N.D. Ohio Apr. 9, 2007) (“reasonable reliance” an element of claim
23   for negligent misrepresentation).
     7
24     See Tabler v. Panera LLC, 2019 WL 5579529, at *12 (N.D. Cal. Oct. 29, 2019) (“[A] plaintiff does not
     satisfy Rule 9(b) when the plaintiff generally identifies allegedly misleading statements but fails to specify
25   which statements the plaintiff actually saw and relied upon.”); Pirozzi v. Apple Inc., 913 F. Supp. 2d 840,
     850 (N.D. Cal. 2012) (requiring under Rule 9(b) plaintiff to “specify when she was exposed to the
26
     statements or which ones she found material to her decisions to purchase”); see also In re ZF-TRW Airbag
27   Control Units Prod. Liab. Litig., 601 F. Supp. 3d 625, 767 (C.D. Cal. 2022) (requiring plaintiffs “to plead
     some facts ‘to establish that they would have been aware of the [omitted fact], if it were disclosed.’”
28   (citation omitted))

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 1   disclosure should have been made. See Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1220 (N.D. Cal.
 2   2014) (“To make the reliance showing, . . . plaintiffs in misrepresentation cases must allege that they
 3   actually read the challenged representations.”); In re ZF-TRW Airbag Control Units Prod. Liab. Litig.,
 4   601 F. Supp. 3d 625, 767 (C.D. Cal. 2022) (omission claim failed to allege reliance because it did not
 5   “allege that Plaintiffs were exposed to the materials that should have included a disclosure of the Alleged
 6   Defect, or that they would have seen it had it been disclosed”).
 7          None of the Plaintiffs pleads any facts supporting actual reliance.           They assert only legal
 8   conclusions—e.g., “Had the omitted information been disclosed, the injuries that Plaintiff suffered would
 9   have been avoidable and avoided,” Baker SFC, Ex. A (4:23-cv-01578). 8 On a motion to dismiss, the court
10   should not credit those purely conclusory legal allegations. Iqbal, 556 U.S. at 678. 9 Accordingly, the
11   absence of any well-pled allegations regarding actual reliance requires the dismissal of the claims against
12   Mr. Zuckerberg.
13          Relatedly, Plaintiffs also fail to plausibly plead “injury resulting to [them] because of such
14   reliance.” In re Welding Fume Prod. Liab. Litig., 2007 WL 1087605, at *7; accord Spencer v. Hartford
15   Fin. Servs. Grp., Inc., 256 F.R.D. 284, 301 (D. Conn. 2009) (“Virtually every state requires that . . . the
16   plaintiff relied on the statement, and the plaintiff was injured as a result” of reliance on the alleged
17   misrepresentation.). Even assuming that Plaintiffs adequately pled injury relating to their use of social
18   media, that would not be enough. Rather, to adequately allege a claim sounding in fraud, Plaintiffs must
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     8
       See also B.B. SFC (4:23-cv-03032) (similar); Booker SFC (4:23-cv-01537) (similar); C.G. SFC (4:23-
20
     cv-01568) (similar); C.S. SFC (4:23-cv-01569) (similar); Calvoni SFC (4:22-cv-05873) (similar);
21   Cameron SFC (4:23-cv-03266) (similar); Cusato SFC (4:23-cv-04961) (similar); D.S. SFC (4:23-cv-
     03402) (similar); Dodd SFC (4:23-cv-01583) (similar); Dowdy SFC (4:23-cv-01866) (similar); Dyer SFC
22   (4:23-cv-01567) (similar); Garceau SFC (4:23-cv-04962) (similar); H.D. SFC (4:23-cv-01425) (similar);
     Haas SFC (4:23-cv-01565) (similar); Hirka SFC (4:23-cv-03906) (similar); J.F. SFC (4:23-cv-01846)
23   (similar); Jackson SFC (4:23-cv-03774) (similar); Jansky SFC (4:23-cv-02026); K.C. SFC (4:23-cv-
     03179) (similar); Keizer SFC (4:23-cv-02972) (similar); Koizol SFC (4:23-cv-02244) (similar); M.C. SFC
24
     (4:23-cv-03398); M.M. SFC (4:23-cv-01615) (similar); M.W. SFC (4:23-cv-03824) (similar); N.K. SFC
25   (4:23-cv-01584) (similar); S.S. SFC (4:23-cv-02024) (similar).
     9
       To be sure, some Plaintiffs do plead a bit more specifically how they would have acted differently. E.g.,
26
     Booker SFC (“Had the omitted information been disclosed, Plaintiff Richard Neal Booker reasonably
27   would have prohibited his minor child S.B. from ever downloading and using Instagram.”). But without
     establishing how they would have actually been aware of the disclosure in the first place, the claim of
28   reliance is not plausible and does not satisfy Rule 9(b).

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 1   allege a connection between the statements that they challenge and their alleged harms. Because Plaintiffs
 2   do not even attempt to allege facts plausibly suggesting that they were injured as a result of their reliance
 3   on Mr. Zuckerberg’s statements, their claims fail as a matter of law.
 4                  2.        Mr. Zuckerberg’s Alleged Statements Consist of Non-Actionable Statements of
                              Opinion or Are Indisputably True.
 5
            Plaintiffs’ claims against Mr. Zuckerberg also fail because they do not adequately plead actionable
 6
     misstatements of fact.
 7
            It is well established that misrepresentation claims must be based on misstatements of fact, capable
 8
     of being proven false. See 37 Am. Jur. 2d Fraud and Deceit § 65 (“The principle is fundamental that fraud
 9
     cannot be predicated upon the mere expression of an opinion.”). “Thus, a statement that is quantifiable,
10
     that makes a claim as to the ‘specific or absolute characteristics of a product [or service],’ may be an
11
     actionable statement of fact while a general, subjective claim about a product is non-actionable puffery.”
12
     Newcal Indus., Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1053 (9th Cir. 2008). See also, e.g., Elias v. Hewlett-
13
     Packard Co., 903 F. Supp. 2d 843, 854–55 (N.D. Cal. 2012) (“Generalized, vague, and unspecified
14
     assertions constitute ‘mere puffery’ upon which a reasonable consumer could not rely, and hence are not
15
     actionable.”); Song v. Champion Petfoods USA, Inc., 2020 WL 7624861, at *10 (D. Minn. Dec. 22, 2020),
16
     aff'd, 27 F.4th 1339 (8th Cir. 2022) (statements are not actionable when they are “too vague to be proved
17
     or disproved”); Castaneda v. Amazon.com, Inc., --- F. Supp. 3d ---, 2023 WL 4181275, at *7 (N.D. Ill.
18
     June 26, 2023) (statements that are “not objectively verifiable” are not actionable).
19
            In particular, courts routinely dismiss misrepresentation claims based on statements regarding
20
     “safety” or the prioritization of safety. See, e.g., Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1068
21
     (9th Cir. 2001) (representation that consumers “would be safely and adequately served” failed to state a
22
     claim because the statement “is devoid of any meaningful specificity”); In re Lyft Inc. Sec. Litig., 484 F.
23
     Supp. 3d 758, 770 (N.D. Cal. 2020) (“generalized assertions about Lyft’s commitment to safety, its safety
24
     measures, and the role safety plays in the rideshare market” were non-actionable puffery); Azoulai v. BMW
25
     of N. Am. LLC, 2017 WL 1354781, at *8 (N.D. Cal. Apr. 13, 2017) (“[T]here is nothing ‘specific and
26
     measurable’ about the word ‘safely.’”); In re Ford Motor Co. Sec. Litig., 381 F.3d 563, 570 (6th Cir. 2004)
27
     (statements about “quality [and] safety” were nonactionable opinions); Greater Hous. Transp. Co. v. Uber
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 1   Techs., Inc., 155 F. Supp. 3d 670, 683 (S.D. Tex. 2015) (statement that Uber is the “safest ride on the
 2   road” was “non-actionable puffery”); XYZ Two Way Radio Serv., Inc. v. Uber Techs., Inc., 214 F. Supp.
 3   3d 179, 183‒84 (E.D.N.Y. 2016) (similar, for statement about “mak[ing] Uber the safest experience”);
 4   Cooke v. Allstate Mgmt. Corp., 741 F. Supp. 1205, 1216 (D.S.C. 1990) (a “judgment and opinion about
 5   safety” “is certainly not the kind of statement [the] law would support as fraudulent”).
 6          In re Yahoo! Inc. Customer Data Sec. Breach Litig., 2017 WL 3727318 (N.D. Cal. Aug. 30, 2017),
 7   is particularly instructive. The plaintiffs in that multi-district litigation challenged Yahoo’s statement that
 8   “protecting our systems and our users’ information is paramount” as misleading because Yahoo allegedly
 9   knew and did not disclose the risks of a breach of users’ personal data, and then did not disclose actual
10   data breaches after they occurred. Id. at *2–4, 26. The court dismissed the consumer protection claims
11   with respect to this statement because it “is a vague and ‘all-but-meaningless superlative[]’ regarding how
12   Defendants’ prioritize the safety of their systems and their users’ information.” Id. at *26 (citation
13   omitted).
14          Here, the majority of Mr. Zuckerberg’s alleged misrepresentations constitute precisely such
15   generalized, unmeasurable statements regarding Meta’s prioritization of “safety.” See, e.g., Compl.
16   ¶ 369a (“we’re really focused on, on safety, especially children’s safety”); see also Appx. A. And, with
17   one exception, all involve vague, non-specific matters of opinion. See, e.g., PI SAC ¶ 370a (“We will do
18   our part to make this [better world] happen, not only because we love you, but also because we have a
19   moral responsibility to all children in the next generation.”); see also Appx. A. Such statements are simply
20   not the sort of concrete, measurable statements of fact that are actionable in fraud.
21          The only concrete claim by Mr. Zuckerberg set out in the Master Complaint is the assertion that
22   Meta “do[es] not allow people under the age of 13 to sign up” for its services. Id. ¶ 369c; see also id.
23   ¶ 388 (“There is clearly a large number of people under the age of 13 who would want to use a service
24   like Instagram. We currently do not allow them to do that.”). But that statement is undisputedly true, as
25   Plaintiffs acknowledge in their Complaint. See id. ¶ 332 (“If the user reports a birthday indicating they
26   are less than 13 years old, they are informed that they cannot create an account.”). “It is fundamental in
27   the law of fraud that a representation must be false to warrant a basis for relief.” See 37 Am. Jur. 2d Fraud
28   and Deceit § 106.

                                                           10
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 1          To be sure, Plaintiffs allege that Meta has generalized knowledge that some users lie about their
 2   age and violate Meta’s policies by creating accounts before their thirteenth birthday. See, e.g., PI SAC
 3   ¶ 389. But that allegation does not in any way call into question or render false the actual statements
 4   attributed to Mr. Zuckerberg. See Amado v. Procter & Gamble Co., 2023 WL 3898984, at *9 (N.D. Cal.
 5   June 8, 2023) (representation is not false if there is a “mismatch between the representations at issue and
 6   the evidence that allegedly debunks them.”); Cullen v. Netflix, Inc., 2013 WL 140103, at *7 (N.D. Cal.
 7   Jan. 10, 2013), aff’d, 600 F. App’x 508 (9th Cir. 2015) (“Plaintiff has not alleged facts showing that
 8   Defendant’s assertions and calculations turned out to be false” because “Plaintiff’s presentation of his own
 9   calculation . . . does not contradict Defendant’s claim”). Precisely such a mismatch exists here: it can be
10   true both that Meta prohibits people under the age of 13 from using its services and that it has general
11   awareness that some people will try to circumvent that prohibition.
12                  3.      Mr. Zuckerberg’s Statements to Congress Are Protected By the First Amendment.
13          Several of the statements made by Mr. Zuckerberg in the Master Complaint were made in
14   testimony to Congress. See PI SAC ¶¶ 369b, 369c, 370b, 370c, 370p. The First Amendment bars claims
15   based on efforts to petition the government, including Congressional testimony. See, e.g., United Mine
16   Workers of Am. v. Pennington, 381 U.S. 657, 670 (1965) (efforts to influence public officials are not
17   illegal, “regardless of intent or purpose”). The Noerr-Pennington doctrine applies even to allegedly false
18   statements. See, e.g., Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 499-500 (1988)
19   (“[a] publicity campaign directed at the general public, seeking legislation or executive action, enjoys
20   antitrust immunity even when the campaign employs unethical and deceptive methods”); E.R.R.
21   Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 145 (1961) (defendant could not be liable
22   for “attempt[ing] to bring about the passage of laws” even if it “deliberately deceived the public and public
23   officials”); Kottle v. Nw. Kidney Centers, 146 F.3d 1056, 1060–62 (9th Cir. 1998) (“the sham exception
24   is extraordinarily narrow” in the context of legislative proceedings). For this reason, Plaintiffs may not
25   assert claims based on Mr. Zuckerberg’s alleged misstatements made to Congress.
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 1                  4.      Plaintiffs Do Not Allege Mr. Zuckerberg Had an Independent Duty to Disclose.
 2          Finally, Plaintiffs’ claims fail to the extent they are based on any alleged “concealment” or

 3   “omission” because they do not allege any relationship with Mr. Zuckerberg that would give rise to an

 4   independent duty to disclose.

 5          To hold an individual liable for alleged omissions, courts across jurisdictions have held that

 6   nondisclosure or concealment becomes fraudulent only when it violates a duty to disclose. See In re

 7   Takata Airbag Products Liability Litigation, 193 F. Supp. 3d 1324 (S.D. Fla. 2016) (applying Alabama

 8   law); Aprigliano v. American Honda Motor Co., Inc., 979 F. Supp. 2d 1331, 81 U.C.C. Rep. Serv. 2d 1101

 9   (S.D. Fla. 2013) (applying Florida law); In re Brookhaven National Laboratory Trichloroethylene Cases,

10   511 F. Supp. 3d 374, 108 Fed. R. Serv. 3d 757 (E.D. N.Y. 2020), certification denied, 514 F. Supp. 3d

11   546 (E.D. N.Y. 2021) (applying New York law); Garcia v. Chrysler Grp. LLC, 127 F. Supp. 3d 212, 237

12   (S.D.N.Y. 2015) (“Plaintiffs have failed to allege a duty to disclose and, by extension, a plausible

13   fraudulent concealment claim under the laws of Alabama, Florida, Georgia, New Jersey, South Dakota,

14   and Texas.”); McCabe v. Daimler AG, 160 F. Supp. 3d 1337, 1350 (N.D. Ga. 2015) (“However, in a

15   fraudulent concealment action, there must first exist a duty to communicate the omitted or concealed

16   material fact to the defrauded party.”).

17           Typically, a duty to disclose does not exist absent a contractual or other special relationship

18   between the parties. See, e.g., McCabe, 160 F. Supp. 3d at 1350 (finding no duty to disclose where

19   defendant had “no apparent relationship with Plaintiffs”); In re Fluoroquinolone Prod. Liab. Litig., 517

20   F. Supp. 3d 806, 820 (D. Minn. 2021) (“The ‘touchstone of [the Court's] duty analysis is to ask whether a

21   plaintiff and a defendant stood in such a relationship to one another that [Illinois] law imposed upon the

22   defendant an obligation of reasonable conduct for the benefit of the plaintiff.’”).

23          Here, Plaintiffs have not alleged any relationship with Mr. Zuckerberg that would create such a

24   duty. Indeed, Plaintiffs allegations are premised only on Mr. Zuckerberg’s status as CEO of Meta. See

25   supra at Part IV.A. The relationship between Mr. Zuckerberg and Plaintiffs is accordingly no different

26   than the relationship between any corporate executive and plaintiffs in a tort case in which they seek to

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 1   hold a company liable. Meta is not aware of any case holding that corporate executives have a sweeping
 2   “duty” to the public in these circumstances, and this Court should similarly reject any such theory.10
 3                                                V.      CONCLUSION
 4        Defendant Mark Zuckerberg respectfully requests that Plaintiffs’ claims against him under Counts 8
 5   and 9 of the Amended Master Complaint be dismissed with prejudice.
 6   Dated: December 22, 2023                             Respectfully submitted,
 7
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 8

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23                                                          Inc., Facebook Operations, LLC, and Mark Elliot
24                                                          Zuckerberg

25

26
     10
27      To the extent Plaintiffs claim a duty to disclose arises from any affirmative statements made by Mr.
     Zuckerberg, such a claim would fail because Mr. Zuckerberg’s statements were not actionable for the
28   reasons explained herein.

                                                            13
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